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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


CHARLES CRUM,                                         Case No. 4:15 CV 2168

               Plaintiff,

       v.                                             Magistrate Judge James R. Knepp, II

COMMISSIONER OF SOCIAL SECURITY,

               Defendant.                             MEMORANDUM OPINION AND ORDER

                                          INTRODUCTION

       Marcia Margolius, counsel for Plaintiff, has moved for approval of payment of her

attorney’s fees, in the amount of $5,687.50, pursuant to 42 U.S.C. § 406(b)(1). (Doc. 21). The

Commissioner responded, stating she had no objection to Plaintiff’s request. (Doc. 22). For the

reasons discussed below, the Court grants the Motion.

                                            DISCUSSION

       Under 42 U.S.C. § 406(b)(1), the Court may allow payment of a reasonable attorney fee,

not to exceed 25 percent of the total past-due benefits to which the Plaintiff is entitled. Plaintiff

signed a contract with counsel which entitled counsel to 25 percent of the past-due benefits. (Doc.

21-2). Within the 25 percent boundary, the attorney for a successful claimant must show, and the

court must affirmatively find, that the fee sought is reasonable for the services rendered. Gisbrecht

v. Barnhart, 535 U.S. 789, 804 (2002). The statutory percentage of 25 percent is a benchmark in

determining whether the fees requested are reasonable. See Rodriguez v. Bowen, 865 F.2d 739,

746 (6th Cir. 1989). If a contingency agreement “states that the attorney will be paid twenty-five

percent of the benefits awarded, it should be given the weight ordinarily accorded a rebuttable

presumption.” Rodriguez, 865 F.2d at 746. Deductions for large fees are permissible in two
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situations: 1) misconduct or ineffectiveness of counsel; or 2) where counsel would otherwise enjoy

a windfall because of either an inordinately large benefit award, or minimal effort expended. Hayes

v. Sec’y of Health & Human Servs., 923 F.2d 418, 421 (6th Cir. 1990). A windfall can never occur

when “the amount of the fee permitted under the contract is less than twice the standard rate for

such work in the relevant market.” Id. at 422. While counsel is not required to seek less than the

25 percent contingency fee, a discounted fee is relevant to the reasonableness determination. See,

e.g., Willis v. Comm’r of Soc. Sec., 2014 WL 2589259, at *5 (S.D. Ohio) (collecting cases); Lowery

v. Comm’r of Soc. Sec. 940 F. Supp. 2d 689, 692 (S.D. Ohio 2013).

       Here, Plaintiff was awarded past benefits, dating back to May 2012, in an amount of

$100,021.00. See Doc. 21-1, at 1. Plaintiff’s counsel requests $5,687.50, or 16.25 hours

compensated at $350 per hour (Doc. 21, at 1), and has provided time sheets documenting the time

spent on Plaintiff’s case (Doc. 21-3). This Court and others in this district have found an hourly

rate of $350 to be reasonable and not excessive. See, e.g., Mays v. Comm’r of Soc. Sec., 2016 WL

4564961 (N.D. Ohio); Williams v. Comm’r of Soc. Sec., 2015 WL 1505700 (N.D. Ohio);

Koporwski v. Comm’r of Soc. Sec., 2013 WL 29804 (N.D. Ohio); Brown v. Comm’r of Soc. Sec.,

2012 WL 6682112 (N.D. Ohio); Godfrey v. Astrue, 2012 WL 3715883 (N.D. Ohio). The Court

also notes counsel here requests fees in the amount of $5,687.50, which is approximately 23

percent of the $25.005.25 representing 25 percent of the back benefits (or less than six percent of

the total past benefits). Moreover, the Commissioner did not oppose Plaintiff’s request. In light of

the above, undersigned therefore finds the requested fee amount to be reasonable.




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                                          CONCLUSION

       For the reasons stated above, the Court grants Plaintiff’s Motion for Attorney Fees in the

amount of $5,687.50. Because counsel previously received attorney fees in the amount of $3,600

under the Equal Access to Justice Act (Doc. 20) (marginally granting Joint Stipulation to Attorney

Fees), that amount shall be returned to Plaintiff to prevent double recovery of fees. See Jankovich

v. Bowen, 868 F.2d 867, 871 n.1 (6th Cir. 1989).

       IT IS SO ORDERED.


                                                                s/James R. Knepp II
                                                                United States Magistrate Judge




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